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Rev 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)
VS, ) Criminal Case No.: 20-210 (CKK)
)
ELLIOTT BROIDY F i L E D
) OCT 20 2020
Clerk, U.S. District and
WAIVER OF INDICTMENT Bankruptcy Courts
«ELLIOTT BROIDY —_—__, the above-named defendant, who is accused of

 

18:371; CONSPIRACY ;
Conspiracy to Serve as an Unregistered Agent of a Foreign Principal

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on _ _ October 20, 2020 prosecution by indictment and consent that

the proceeding may be by information rather than by indictment.

 

“ys / . .
Before: (Us Ada K tll Date: —Otbe. AC Qo2y.
-

Colleen Kollar-Kotelly }

United States District Judge
